Case 2:04-cr-20395-SH|\/| Document 6 Filed 05/02/05 Page 1 of 2 Page|D 5

UNITED STATES DISTRICT CoURT zl-i@.;;-i': poole a _
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Western Division §§ mill -?_ Pi"`i 51 lil§"~

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UNITED STATES OF AMERICA

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-vs- Case No. 2:04cr20395-Ma

MICHAEL GREEN

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

' The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
‘ All purposes including trial and appeal J

ll
DONE and ORDERED in 167 North Main, Memphis, this ¢, day of May, 2005.

film/vw /¢ ZMWK

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Servioes Office

Assistant Federal Publio Defender
Intake

MICHAEL GREEN

Thls document entered on the docket 511 t in c/ompliance
with Rule 55 and/or 32(b) FRCrP on b § C 5

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:04-CR-20395 Was distributed by faX, mail, or direct printing on
May 3, 2005 to the parties listed.

 

 

PDA

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l\/lemphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

